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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

               Plaintiffs,

      v.
                                                      Civil Action No. 1:20-cv-02658 (CJN)
DONALD J. TRUMP, President of the
United States, et al.,

               Defendants.


                                              ORDER

         For the reasons stated in the accompanying Memorandum Opinion, ECF No. 30, it is

hereby

         ORDERED that Plaintiffs’ Motion for Preliminary Injunction, ECF No. 15, is

GRANTED in part as to the prohibited transactions in Paragraph 1 of the Commerce

Identification, which goes into effect on September 27, 2020, ECF No. 21-1, 23 [sealed version];

22-1, 23 [redacted version], and DENIED IN PART at this time as to the prohibited transactions

in Paragraphs 2–5 of the Commerce Identification, which go into effect on November 12, 2020,

ECF No. 21-1, 23–24 [sealed version]; ECF No. 22-1, 23–24 [redacted version]. It is further

         ORDERED that on or before September 28, 2020, at 11:00 am, the Parties shall review

the sealed Memorandum Opinion, ECF No. 30, and inform the Court whether the opinion can be

unsealed. It is further

         ORDERED that on or before September 30, 2020, the Parties shall meet, confer, and file

a Joint Status Report proposing a schedule for further proceedings. The Parties may also address

any other issues that they believe will be helpful to the Court.


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DATE: September 27, 2020
                                               CARL J. NICHOLS
                                               United States District Judge




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